






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00345-CR






William Whittington Roberts, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT

NO. D-1-DC-07-206717, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Following a bench trial, the district court convicted appellant William Whittington
Roberts of the offense of attempting to obtain a controlled substance by fraud.  See Tex. Health &amp;
Safety Code Ann. § 481.129(a)(5) (West 2003).  Roberts pleaded true to an enhancement paragraph
alleging a prior felony conviction for the offense of possession of a controlled substance, and the
district court assessed punishment at seven years' imprisonment.  In three points of error, Roberts
asserts that the evidence is legally and factually insufficient to sustain the conviction and that the
district court committed "fundamental error" by not sua sponte excluding certain evidence. (1) 
Although we will overrule each of Roberts's points, we have noticed that the written judgment
contains a clerical error with respect to the applicable subsection of the statute under which
Roberts&nbsp;was convicted.  We will modify the judgment to reflect the correct subsection of the statute
under which Roberts was convicted and, as modified, affirm.


BACKGROUND

		Roberts was indicted for knowingly attempting to possess or obtain a controlled
substance, namely hydrocodone, by misrepresentation, to wit:  by giving false names and birth date
for the purposes of treatment.  See id. § 481.129(a)(5)(A).  The district court heard evidence that,
on&nbsp;November 9, 2007, Roberts attempted to obtain a prescription for narcotic pain medication from
two different hospitals in Austin.  Dr. Rex Medford, an emergency room physician at St. David's
Hospital, testified that Roberts was admitted to the hospital complaining of a "sudden
onset&nbsp;of&nbsp;testicular pain."  According to Medford, at registration, Roberts identified himself as
"Michael&nbsp;Robertson" and provided a birth date of July 18, 1970.  Roberts's actual date of birth is
February 5, 1965.  Roberts also provided a social security number.  When hospital staff entered
this&nbsp;number into the hospital computer system, the name Roberts provided did not appear in the
hospital computer.  At that point, the hospital staff asked Roberts for identification, which, according
to Medford, Roberts "did not have."

		Nevertheless, the hospital began treating Roberts.  Medford testified that a nurse
alerted him to the fact that Roberts had possible "track marks" on his arms "that would be consistent
with IV drug use."  Medford asked Roberts if he could look at his wrists and then asked him "what
happened, without accusation."  According to Medford, Roberts volunteered, "'I don't use drugs,'
and that made me a little suspicious."  Medford then ordered an ultrasound, which Roberts declined. 
"And at that point in time," Medford explained, "he told me that he was a heroin addict."  Medford
asked Roberts "if he was really having pain or if he just said that to get drugs."  According to
Medford, Roberts told him "that he was just trying to get some medication."  Medford then canceled
the ultrasound and offered Roberts "social work consultation to help him with his drug problem."
Roberts's response to this offer, Medford testified, was "to bargain for medication which I denied."
Roberts then "signed out against medical advice" and left the hospital at approximately 3:05 p.m.

		At approximately 3:30 p.m., Roberts checked into Seton Medical Center.  This time,
Roberts identified himself as "William Whittington" and provided a date of birth of February 7,
1970.  Dr. John Berdolla, the emergency room physician assigned to Roberts, testified that Roberts
had complained of a toothache.  Although Berdolla observed that Roberts had a decayed tooth,
he&nbsp;noted that Roberts "didn't have any signs of pain or distress."  Berdolla also noticed that Roberts
"had a kind of guarded affect" and "did not have any form of ID present with him or available."  His
suspicion aroused, Berdolla checked "a public database to see if there was a record of someone
with&nbsp;the name of William Whittington and that date of birth, and there was nobody."  Berdolla asked
Roberts about this, and Roberts claimed that he had "made a mistake" and "that his name was
William Whittington Roberts."  Berdolla then ran this name through the database.  He recalled, "I
didn't look at the specific birth date, but there was a close enough match that I gave him the benefit
of the doubt."  Berdolla then wrote Roberts a prescription for Vicodin, which is a combination of
hydrocodone and acetaminophen.  Roberts was then discharged from the hospital, and Berdolla
observed that Roberts "was in a real hurry to leave."

		Shortly thereafter, Berdolla testified, he learned from a paramedic that Roberts
had&nbsp;been seen earlier that day at another emergency room registering "under a clearly different
name" and presenting "a different chief complaint."  Berdolla then began calling local pharmacies
to cancel the prescription he had given Roberts.  Berdolla eventually learned that Roberts was at the
pharmacy located inside Seton, and he asked the emergency room security officer, Chris Rybarski
of the Austin Police Department, to locate and apprehend Roberts.

		Officer Rybarski testified that, after he had located Roberts, he asked for Roberts's
identification.  Roberts was unable to produce a photo ID, but he did inform Rybarski that his name
was William Roberts and that his date of birth was February 5, 1965.  Rybarski then asked Roberts
to accompany him back to the emergency room.  Once they arrived, Rybarski called dispatch and
ran a background check on Roberts.  Dispatch informed Rybarski that Roberts had an outstanding
warrant out of Dallas County for a probation violation.  When Rybarski asked Roberts if he was
aware of this, Roberts confirmed that he was.  At this point, Rybarski testified, Roberts was under
arrest and was not free to leave.  Rybarski then went to the front desk and asked to look at Roberts's
registration form.  The front desk personnel provided Rybarski with the registration form, and
Rybarski observed that the name and date of birth provided on the form was "William Whittington,
2/7 of '70."  Roberts's last name was nowhere on the form, nor was his correct date of birth. 
Rybarski took the form back to Roberts and asked him if he had filled it out.  "And at that point,"
Rybarski recalled, "he said he had nothing further to say."  Dr. Berdolla, who was present during
this&nbsp;conversation, took the prescription slip from Roberts, ripped it to pieces, and threw it away. 
However, after Rybarski informed Berdolla that the slip might be needed as evidence, he and
Rybarski retrieved it from the trash and taped it back together. (2)  Rybarski also testified that, upon
further investigation, he learned that Roberts had registered at Seton Medical Center on other
occasions using three different birth dates and three different social security numbers.

		After Rybarski testified, the State rested its case.  Roberts then asked for a "directed
verdict," which the district court denied.  The defense then rested its case without calling any
witnesses.  The district court found Roberts guilty as charged, and the case proceeded to punishment. 
Roberts pleaded true to the enhancement allegation, and the district court sentenced him to
seven&nbsp;years' imprisonment.  This appeal followed.


ANALYSIS

"Fundamental error"

		We first address Roberts's third point of error, in which he claims that the
district&nbsp;court committed "fundamental error" by not sua sponte excluding certain evidence.  First,
Roberts asserts that the district court should not have admitted "backdoor hearsay" testimony that
Dr. Berdolla overheard a comment by an unidentified paramedic that the paramedic had seen
Roberts&nbsp;leave another hospital's emergency room earlier that day.  Second, Roberts claims that the
district court should not have admitted Roberts's medical records that Officer Rybarski obtained,
according to Roberts, in violation of the Health Information Privacy and Portability Act (HIPPA). 
The State, observing that Roberts did not present either of these complaints to the district court,
argues that Roberts failed to preserve error and that a trial court's ruling on the admissibility of
evidence does not constitute "fundamental error."

		We agree with the State.  In most circumstances, a party raising a complaint on appeal
must have made a timely and specific objection in the trial court and the court must have ruled on&nbsp;the
objection.  Tex. R. App. P. 33.1(a); Mendez v. State, 138 S.W.3d 334, 341 (Tex. Crim. App. 2004). 
"Except for complaints involving systemic (or absolute) requirements, or rights that are waivable
only, . . . all other complaints, whether constitutional, statutory, or otherwise, are forfeited by failure
to comply with Rule 33.1(a)."  Mendez, 138 S.W.3d at 342.  The court of criminal appeals has
"consistently held that the failure to object in a timely and specific manner during trial forfeits
complaints about the admissibility of evidence."  Saldano v. State, 70 S.W.3d 873, 889 (Tex. Crim.
App. 2002).  "This is true even though the error may concern a constitutional right of the defendant." 
Id.  While it is true that nothing in the rules of evidence "precludes taking notice of fundamental
errors affecting substantial rights although they were not brought to the attention of the court,"
Tex.&nbsp;R. Evid. 103(d), the evidence of which Roberts complains does not rise to that level.  See, e.g.,
Moore v. State, 935 S.W.2d 124, 130 (Tex. Crim. App. 1996) (holding that erroneous admission of
hearsay is not fundamental error and must be preserved at trial); Holland v. State, 802 S.W.2d 696,
700 (Tex. Crim. App. 1991) (holding that violation of confrontation clause must be preserved by
timely and specific objection at trial); Lopez v. State, 482 S.W.2d 179, 182 (Tex. Crim. App. 1972)
("[T]here must be a timely objection to preserve error of illegally obtained evidence.").  Because
Roberts did not present his evidentiary complaints to the district court, he has failed to preserve error,
and there is nothing for this Court to review.  See Tex. R. App. P. 33.1(a). (3)

 		We overrule Roberts's third point of error.


Evidentiary sufficiency

		In his first and second points of error, Roberts asserts that the evidence is legally
and&nbsp;factually insufficient to support his convictions.  In a legal sufficiency review, we consider
whether, after viewing the evidence in the light most favorable to the finding of guilt, a rational trier
of fact could have found the elements of the offense beyond a reasonable doubt.  See Jackson
v.&nbsp;Virginia, 443 U.S. 307, 324 (1979); Clayton v. State, 235 S.W.3d 772, 778 (Tex. Crim. App.
2007).  "This standard accounts for the factfinder's duty 'to resolve conflicts in the testimony, to
weigh the evidence, and to draw reasonable inferences from basic facts to ultimate facts.'"  Clayton,
235 S.W.3d at 778 (quoting Jackson, 443 U.S. at 319). It is not necessary that every fact point
directly and independently to the defendant's guilt, but it is enough if the conclusion is warranted
by the combined and cumulative force of all the incriminating circumstances.  Hooper v. State,
214&nbsp;S.W.3d 9, 13 (Tex. Crim. App. 2007).

		In a factual sufficiency review, we consider whether, after viewing the evidence in
a neutral light, a rational trier of fact was justified in finding guilt beyond a reasonable doubt.  See
Watson v. State, 204 S.W.3d 404, 414 (Tex. Crim. App. 2006).  A finding of guilt should be set aside
only if the evidence supporting the finding is so weak as to render the finding clearly wrong or
manifestly unjust.  See id. at 705; Korell v. State, 253 S.W.3d 405, 412 (Tex. App.--Austin 2008,
pet. ref'd).  Therefore, we will not reverse a judgment on a factual sufficiency challenge unless we
can say, with some objective basis in the record, that the great weight and preponderance of the
evidence contradicts the finding of guilt.  Watson, 204 S.W.3d at 417.

		In this case, the State was required to prove beyond a reasonable doubt that
Roberts&nbsp;knowingly attempted to possess or obtain a controlled substance, namely hydrocodone, by
misrepresentation.  See Tex. Health &amp; Safety Code Ann. § 481.129(a)(5)(A).  According to Roberts,
"no clear evidence was offered to unequivocally establish that the Appellant misrepresented himself
in order to obtain a prescription," and, even if there was, it "is too weak in itself and too controverted
by other evidence to support the conviction."  We disagree.

		Dr. Medford testified that, at St. David's, Roberts provided a false name,
"Michael&nbsp;Robertson," and an incorrect date of birth.  Roberts's medical records from St. David's
confirm that these misrepresentations were made.  Also, Roberts claimed to be suffering from
testicular pain but, when asked by Medford "if he was really having pain or if he just said that to get
drugs,"  Roberts, according to Medford, admitted "that he was just trying to get some medication"
and then attempted to "bargain" for medication.  The district court could have reasonably inferred
from this evidence that Roberts, through his misrepresentations, was attempting to obtain a
controlled substance.

		The district court could have also found that Roberts continued to make
misrepresentations when he arrived at Seton and that he persisted in doing so until after he had
obtained a prescription from Dr. Berdolla.  According to Berdolla, Roberts registered under the
name&nbsp;"William Whittington"--completely omitting his last name from the registration form--and
provided an incorrect date of birth.  The registration form that was admitted into evidence confirms
these misrepresentations.  It was not until after Berdolla was unable to find a "William Whittington"
in the database that Roberts disclosed his full name.  Even then, Roberts did not correct the earlier
misrepresentation that he had made about his date of birth.  The label on the prescription slip shows
both the incorrect date of birth and the incorrect last name.  Also, Roberts complained of a toothache,
a claimed condition quite distinct from the testicular pain of which Roberts had complained at
St.&nbsp;David's less than an hour earlier.  The district court could have found that this was another
misrepresentation that Roberts had made in order to obtain a controlled substance, especially in light
of Berdolla's testimony that Roberts "didn't have any signs of pain or distress."

		Viewing the above evidence in the light most favorable to the finding of guilt, the
district court could have found that, beginning when he checked into St. David's and continuing
until&nbsp;he obtained a prescription from Dr. Berdolla at Seton, Roberts attempted to obtain a controlled
substance by misrepresentation.  Thus, the evidence is legally sufficient to sustain the conviction. 
See Oler v. State, 998 S.W.2d 363, 369-70 (Tex. App.--Dallas 1999, pet. ref'd, untimely filed)
(explaining that statute imposes affirmative legal duty on one obtaining controlled substance to do
so without engaging in "misrepresentation, fraud, forgery, deception, or subterfuge" and that
defendant's intent to obtain controlled substance by fraud may be proved by circumstantial
evidence). 

		We reach the same conclusion when considering the evidence in a neutral light. 
Roberts claims that he mistakenly omitted his last name from the registration form, perhaps due to
hospital staff hastily assisting Roberts in filling out the form. Roberts also points to an addendum
by Dr. Berdolla attached to his emergency room report in which Berdolla wrote, "The patient
presented with what appears to have been either an unintentional or intentional use of a different
name."  Roberts urges that the omission was unintentional.  However, it would not have been against
the great weight and preponderance of the evidence for the district court to conclude otherwise. 
Berdolla testified that the patient fills out the registration form himself.  In the space for his last
name, Roberts wrote "Whittington," completely omitting his actual last name from the form.  And,
even if hospital staff had assisted Roberts in filling out the form and mistakenly omitted his
last&nbsp;name, this would not explain the incorrect date of birth that was also on the form.  Additionally,
Officer Rybarski testified that Roberts had previously appeared at Seton and provided incorrect
information in an attempt to obtain medication.  According to Rybarski, Roberts had registered at
Seton on other occasions using three different birth dates and three different social security numbers. 
The district court could have reasonably inferred that this evidence tended to negate some sort of
good-faith error or miscommunication and instead tended to prove that Roberts's misrepresentations
on the registration form were intentional.  As for Berdolla's initial uncertainty about whether the
omission was intentional or unintentional, we observe that there is a second, later addendum
attached&nbsp;to the emergency room report in which Berdolla unequivocally expresses his belief that
the&nbsp;omission was intentional:  "It turned out that he had given a false name on arrival and it was
confirmed by looking at the original registration sheet that he had written William Whittington, not
that he had written William Whittington Roberts or anything that might be construed as a mistake
at registration."  Moreover, the evidence tending to show that Roberts misrepresented himself at
St.&nbsp;David's supports a finding by the district court that Roberts similarly misrepresented himself
at&nbsp;Seton.  Based on this and other evidence, we cannot say, with some objective basis in the record,
that the great weight and preponderance of the evidence contradicts the finding of guilt.  Thus, the
evidence is factually sufficient to sustain the conviction.

		We overrule Roberts's first and second points of error. 


Incorrect statute referenced in judgment

		Finally, we observe that while the written judgment identifies section 481.129,
subsection (a)(4), of the health and safety code as the statute under which Roberts was convicted,
Roberts was actually charged and convicted under subsection (a)(5) of the statute.  The appropriate
remedy is to modify the district court's judgment to reflect the correct statute.  See Tex. R. App.
P.&nbsp;43.2(b); Bigley v. State, 865 S.W.2d 26, 27-28 (Tex. Crim. App. 1993); Nicholas v. State,
56&nbsp;S.W.3d 760, 767 (Tex. App.--Houston [14th Dist.] 2001, pet. ref'd).





CONCLUSION

		We modify the district court's judgment to reflect that the "Statute for Offense"
was&nbsp;"Section 481.129(a)(5), Health and Safety Code."  As modified, we affirm the judgment of the
district court.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Modified and, as Modified, Affirmed

Filed:   April 1, 2010

Do Not Publish

1.   After appellant's brief was filed, this Court received a supplemental pro se brief raising
additional arguments.  However, a criminal defendant has no right to hybrid representation or to
represent himself on direct appeal.  Scheanette v. State, 144 S.W.3d 503, 505 n.2. (Tex. Crim. App.
2004).  Accordingly, we will not address any of Roberts's pro se points.  See id.; Berry v. State,
278&nbsp;S.W.3d 492, 495 (Tex. App.--Austin 2009, pet. ref'd).
2.   The taped-together prescription slip was admitted into evidence at trial, as was the
registration form, Roberts's medical records from St. David's, and his medical records from Seton. 
3.   The only case Roberts cites for his argument that the admission of evidence constitutes
fundamental error is Blue v. State, 41 S.W.3d 129 (Tex. Crim. App. 2000).  In Blue, a plurality of
the court of criminal appeals ruled that a trial judge's comments "which tainted [the defendant's]
presumption of innocence in front of the venire, were fundamental error of constitutional dimension
and required no objection."  Id. at 132.  Blue is not binding precedent.  Peavey v. State, 248 S.W.3d
455, 471 (Tex. App.--Austin 2008, pet. ref'd).  Moreover, Roberts fails to show how a trial court's
inaction in not sua sponte excluding supposedly inadmissible evidence is comparable to a
trial&nbsp;court's action in making comments that taint a defendant's presumption of innocence.

